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                                                                                     September 11, 2023
          Catherine O’Hagan Wolfe
          Clerk of the Court
          United States Court of Appeals for the Second Circuit
          Thurgood Marshall United States Courthouse
          40 Foley Square
          New York, NY 10007
          Via ECF filing

          RE: Case No 22-2327, Sutton v. Marie

          Dear Ms. Wolfe,

          Under FRAP 28(j), Plaintiff-Appellant Carré Sutton submits as supplemental authority
          the enclosed August 24, 2023 decision in Samuel W. v. The United Synagogue of
          Conservative Judaism, 194 N.Y.S.3d 25, 26 (App. Div. 2023). The plaintiff there was
          sexually abused in Yellowstone National Park during a cross-country bus trip sponsored
          by defendants. He relied on the New York’s Child Victims Act (CVA)’s revival
          provision to bring otherwise time-barred claims. Id. Defendants raised the same
          arguments that Tapscott relies on in Sutton v. Marie, and the New York appellate court
          rejected them.

          In Samuel W., the appellate court rejected defendants’ argument that because CPLR 214–
          g refers to conduct which would constitute a sexual offense as defined in New York’s
          Penal Law, it applies only to claims based on acts committed within New York State. The
          Court explained that “it is not a violation of one of the enumerated penal statutes that is
          required to trigger the revival of certain civil causes of action”; rather, the references to
          the Penal Law “serve to define the nature of acts covered.” Id. at 26-27 (emphasis added).

          The appellate court also rejected the argument that applying the CVA where the sexual
          abuse occurred out of state would be an impermissible extraterritorial application of the
          law, reasoning that “this suit would have been properly adjudicated in New York had it
          been timely brought prior to the enactment of the CVA,” so there is nothing
          extraterritorial about applying the New York law. Id. The court concluded that
          defendants’ arguments would contradict the remedial purpose and text of the CVA,
          which by “its plain language revived ‘every’ covered ‘civil claim or cause of action’ that
          would have been properly brought in New York in the first instance.” Id. at 27.

          Thus, the First Department of New York’s Appellate Division has now joined the Second
          Department in holding that the CVA revives New York residents’ claims even where the
          sexual abuse took place outside of New York, see Reply Br. at 6-7, confirming that New
          York courts are in agreement and that this Court should reverse the decision below.


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                                                                    Sincerely,

          September 11, 2023                                         /s/ Ellen Noble

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                                           CERTIFICATE OF SERVICE

                    I certify that on September 11, 2023, I electronically filed the foregoing via the

          CM/ECF system and served defendant-appellee Trudi Tapscott or her counsel via

          CM/ECF. I further certify that a copy of the letter was mailed via U.S. mail to:


          Gerald Marie
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          Illes Balears, 078389
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                                                                       /s/ Ellen Noble




                                       CERTIFICATE OF COMPLIANCE

                    This notice complies with Federal Rule of Appellate Procedure 28(j) because it

          contains 350 words.



                                                                        /s/ Ellen Noble




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2023 N.Y. Slip Op. 04416



                                     194 N.Y.S.3d 25 (Mem)
                   Supreme Court, Appellate Division, First Department, New York.

                                  SAMUEL W., Plaintiff–Respondent,
                                                 v.
                           The UNITED SYNAGOGUE OF CONSERVATIVE
                                JUDAISM et al., Defendants–Appellants.

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                                            Index No. 950017/21
                                                      |
                                           Case No. 2022-03860
                                                      |
                                          Entered: August 24, 2023

Attorneys and Law Firms

Goldberg Segalla, LLP, Albany (Jonathan M. Bernstein of counsel), for appellants.

Levy Konigsberg LLP, New York (Matthew Shock of counsel), for respondent.

Webber, J.P., González, Rodriguez, Pitt–Burke, JJ.

Opinion
*26 Order, Supreme Court, New York County (Laurence L. Love, J.), entered on or about August
18, 2022, which, to the extent appealed from as limited by the briefs, denied defendants’ motion
to dismiss pursuant to       CPLR 3211(a)(5), unanimously affirmed, without costs.

The Child Victims Act (CVA), codified in CPLR 214–g, provides, in relevant part that “every
civil claim or cause of action brought against any party alleging intentional or negligent acts or
omissions ... for ... injury or condition suffered as a result of conduct which would constitute a
sexual offense as defined in [Penal Law article 130] committed against a child less than eighteen
years of age ..., which is barred as of the effective date of this section because the applicable period
of limitation has expired, ... is hereby revived” for a two-year period which ended on August 14,
2021. Plaintiff's action was commenced within the appropriate window.

Defendants argue, however, that CPLR 214–g does not revive plaintiff's claims because the
alleged sexual abuse occurred out of state—namely, in Yellowstone National Park during a cross-
country bus trip sponsored by defendant United Synagogue Youth, a branch of defendant United


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Synagogue of Conservative Judaism (USCJ). Defendants rely principally on (Goshen v. Mutual
Life Ins. Co. of N.Y., 286 A.D.2d 229, 730 N.Y.S.2d 46 [1st Dept. 2001], affd        98 N.Y.2d 314,
746 N.Y.S.2d 858, 774 N.E.2d 1190 [2002]) for the proposition that applying CPLR 214–g to
revive plaintiff's claims would be an impermissible extraterritorial application of the statute.

  Goshen, which addresses whether General Business Law § 349 permits redress for injuries
caused by out-of-state deceptive business practices, is inapposite for a number of reasons. First,
in contrast to      CPLR 214–g—which is silent on the subject of territorial application but applies
to “every” covered claim— General Business Law § 349 explicitly limits its application to
deceptive business practices “in this state” ( Goshen, 98 N.Y.2d at 324–325, 746 N.Y.S.2d 858,
774 N.E.2d 1190). In addition, plaintiff here asserts common-law tort claims, whereas        General
Business Law § 349 involves a legislatively-created private right of action ( id. at 324, 746
N.Y.S.2d 858, 774 N.E.2d 1190; see Schultz v. Boy Scouts of Am., Inc., 65 N.Y.2d 189, 198,
491 N.Y.S.2d 90, 480 N.E.2d 679 [1985] [law of common domicile favored where “conduct of a
codomiciliary ... was tortious under the laws of both jurisdictions”]). Finally, the statutory claim
in Goshen was brought by a Florida resident who bought his insurance policy in Florida from
a Florida based insurance agent; plaintiff here is a New York resident, and defendant USCJ is a
domestic organization with its principal place of business in New York. Ultimately, defendants
acknowledge that this suit would have been properly adjudicated in New York had it been timely
brought prior to the enactment of the CVA.

Defendants’ essential argument is therefore that CPLR 214–g, inasmuch as it refers to conduct
which would constitute a sexual offense as defined in New York's Penal Law, applies only to
claims based on acts committed within New York State. Contrary to defendants’ position, “it is
not a violation of one of the enumerated penal statutes that is required to trigger the revival of
certain civil causes of action, but rather it is ‘conduct which would constitute’ [ ] a sexual offense
as defined in article 130 of the Penal Law” ( S.H. v. Diocese of Brooklyn, 205 A.D.3d 180, 187,
167 N.Y.S.3d 171 [2d Dept. 2022]). New York's criminal statutes’ territorial limitations *27 are,
thus, not a basis for excluding claims under the CVA ( id.). Rather, references to the Penal Law
in    CPLR 214–g serve to define the nature of acts covered.

The purpose of the CVA was “to remedy the injustices to survivors of child sexual abuse by
extending New York's restrictive statutes of limitations that required most survivors to file civil
actions or criminal charges long before they reported or came to terms with their abuse” ( S.H.,
205 A.D.3d at 186, 167 N.Y.S.3d 171; see Anonymous v. Castagnola, 210 A.D.3d 940, 944, 178
N.Y.S.3d 587 [2d Dept. 2022]). More importantly, its plain language revived “every” covered
“civil claim or cause of action” that would have been properly brought in New York in the first


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instance, of course subject to applicable provisions of the CPLR, including CPLR 202 (see Shapiro
v. Syracuse Univ., 208 A.D.3d 958, 961–962, 173 N.Y.S.3d 769 [4th Dept. 2022]). Defendants’
argument, which, if adopted, would exclude a certain set of those claims, is therefore without merit.

Accordingly, plaintiff's claims against defendants were properly revived under CPLR 214–g.
Even though the alleged sexual abuse occurred outside of New York, plaintiff was a New York
resident at the time the action accrued (see id. at 962, 173 N.Y.S.3d 769).

We have considered defendants’ remaining arguments and find them unavailing.


All Citations

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